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                     Exhibit
                     Exhibit F
                             F
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   Message

   From:             Fischer, Debra L. [debra.fischer@morganlewis.com]
   Sent:             11/8/2018 11:27:00 PM
   To:               Peter Arkley [/O=CORPORATE/CU=First Administrative Group/cn=Recipients/cn=parkley]; Reshma Dalia
                     [/O=CORPORATE/OU=First Administrative Group/cn=Recipients/cn=rdalia]
   CC:               Ken Zak [/O=CORPORATE/OU=First Administrative Group/cn=Recipients/cn=kzak]
   Subject:          Chuck McDaniel - URGENT (ATTORNEY CLIENT PRIVILEGED)

   Importance:       High

   This message has originated outside the organization.




   Peter,
   i tried to call you but got voicemail and no response to my text. You may be on the East Coast. First thing in the morning,
   please CALL McDaniel and tell him that his attorney (Jeff Springer) emailed to his Lockton email address. The email went
   to Reshma, Ken, me and Chuck, but not you for whatever reason, and attached Chuck's Lockton agreements. Whether
   intentional or unintentional, he obviously should not be emailing Chuck at this work address and Chuck needs to
   immediately tell his lawyer not to do this. You should also have Chuck delete this and any other emails he has sent or
   received to/from Springer if on his Lockton email. It is too late to stop them from being saved by Lockton to their
   system, but it's a start. CHUCK SHOULD DEAL WITH THIS BY TELEPHONE, NOT BY EMAIL.

   | have     not been told who Springer is and whether he is just transition counsel or is going to be negotiating Chuck's
   Alliant    agreement. But, given the importance of this prospect, we should talk amongst ourselves and get straight who
   will be     communicating with whom. The same is true for any others you may be talking to. We can discuss further by
   phone,       but this involves questions of privilege and privacy. Call me anytime on cell to discuss. 213.361.3134.

   Debra L. Fischer
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